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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

TOM SORENSEN, individually and on behalf all
others similarly situated,

                          Plaintiff,
                                                         Civil Action No.
      v.
                                                         1:22-cv-05522
TURNER BROADCASTING SYSTEM, INC. d/b/a
BLEACHER REPORT, INC.,

                          Defendant.



                MEMORANDUM OF LAW IN SUPPORT OF
        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT




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        Defendant Turner Broadcasting System, Inc. d/b/a Bleacher Report, Inc. (“Defendant” or

“Bleacher Report”), 1 respectfully submits this memorandum of law in support of its motion to

dismiss the Complaint.2

                                   PRELIMINARY STATEMENT

        This lawsuit is part of a broader campaign to expand the reach of a 1980s-era privacy

law—the Video Privacy Protection Act, 18 U.S.C. § 2710 et seq. (the “VPPA”)—to

circumstances that differ sharply from those that motivated the statute’s passage in an effort to

cash in on statutory damages. In under twelve months, the plaintiff bar has filed almost 100

separate VPPA class action lawsuits against a wide array of defendants—all focused on

commonly employed digital practices with no connection to the VPPA’s original intent.

        The VPPA traces back to Judge Robert Bork’s nomination to the Supreme Court, when a

movie rental store provided Judge Bork’s movie rental history to a Washington newspaper,

which then published a profile about Judge Bork based on “the titles of 146 films his family had

rented.” Congress responded with the VPPA. S. REP. NO. 100-599, at 5-6 (1988). The VPPA

permits a consumer of a “video tape service provider” to assert a claim against a video tape

service provider who “knowingly” disclosed their “personally identifiable information” (“PII”).

18 U.S.C. § 2710. Far from the intrusive disclosure of Judge Bork’s video viewing history to a

reporter, Plaintiff challenges a routine industry practice of using the Facebook Pixel, a tool




1
 The Complaint names Turner Broadcasting System, Inc. d/b/a Bleacher Report, Inc. as the Defendant.
Turner Broadcasting System, Inc., however, is not the proper Defendant. Bleacher Report, Inc. is the
owner of BleacherReport.com and the proper Defendant. See https://lookup.icann.org/en/lookup (listing
“The Bleacher Report, Inc.” as the registrant of the BleacherReport.com domain). Bleacher Report, Inc.,
however, responds herein.
2
  Defendant is also filing a motion to compel arbitration, which Defendant requests be resolved before
this motion to dismiss. In filing this motion to dismiss, Defendant does not waive its right to arbitrate.
See Sharif v. Wellness Int’l Network, Ltd., 376 F.3d 720, 726 (7th Cir. 2004).

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Facebook offers to websites for analyzing aggregate user interactions and optimizing ad

campaigns on Facebook. 3

        Setting aside that the Complaint and the other lawsuits in this recent flood improperly

stretch the VPPA’s scope, the claims here must be dismissed for at least three reasons. First,

Plaintiff’s purported class claims fail because, as is clear from Defendant’s judicially noticeable

Terms of Use, Plaintiff agreed to a class waiver. Second, Plaintiff does not plausibly allege facts

needed to support his VPPA claim, namely: (a) that Defendant is a video tape service provider,

(b) that Defendant provided prerecorded (as opposed to live) video materials to him, (c) that

Defendant disclosed his alleged PII, or (d) that Defendant disclosed his alleged PII knowingly;

and, in any event, his VPPA claim also fails because Defendant obtained his consent to the exact

activity about which he now complains. Third, Plaintiff lacks injury and therefore standing: He

alleges, at most, an intangible harm lacking a close relationship to those traditionally recognized

at common law. Moreover, to the extent he suffered any injury, it was caused by the operation

of Facebook’s cookies and his conduct, and so is not fairly traceable to Defendant’s conduct.

                                          BACKGROUND

        The Parties. Bleacher Report provides a destination for fans looking for the intersection

of sports and culture. It distributes sports news and commentary free of charge via its website,

BleacherReport.com, and its Bleacher Report apps. Bleacher Report’s content covers a wide

range of professional and college sports, including basketball, football, hockey, mixed martial




3
 This is not the first time the plaintiff bar has attempted to use the VPPA to target one of Facebook’s
ubiquitously employed business tools. Indeed, In re Hulu Priv. Litig., 86 F. Supp. 3d 1090, 1093-94
(N.D. Cal. 2015), also focused on disclosures occurring via the Facebook “Like” button. There, Hulu
won summary judgment because plaintiffs could not establish Hulu knew “that Facebook might combine
a Facebook user’s identity . . . with the watch-page address” to yield PII. Id. at 1097.


                                                   2
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arts, and eSports. Compl. ¶ 14; Bleacher Report, Home Page, https://bleacherreport.com/. 4

        In an effort to employ terminology taken from the VPPA, Plaintiff alleges that he

“subscribed to a Bleacher Report account” in 2015. Compl. ¶ 42. In fact, while visitors to

Bleacher Report have the option to create accounts through the BleacherReport.com website, no

“subscription” results through this action, and individuals can access content on the website

regardless of whether they create an account. See Bleacher Report, Home Page,

https://bleacherreport.com/. Plaintiff also alleges he “subscribed” to “several of Bleacher

Report’s online newsletters” (Compl. ¶ 42). In fact, the Bleacher Report website offers users the

opportunity to “sign up” for newsletters (free of charge), in order to receive periodic emails sent

to the users’ inbox, which are distinct and set apart from video content on the website. See

Bleacher Report, Newsletter Sign-Up, https://bleacherreport.wyng.com/manage-

inbox?page=page_3857924938674.

        Plaintiff alleges he “viewed Video Media via Bleacher Report’s website” while logged

into his Facebook account. Compl. ¶ 43. But Plaintiff never specifies whether he viewed

prerecorded or live-streamed video content, though Defendant offers both (e.g., Bleacher Report,

All Elite Wrestling PPV, https://bleacherreport.com/videos/all-elite-wrestling-ppv#main).

        The Alleged Disclosures. Plaintiff points to Facebook IDs (“FIDs”), 5 names and email

addresses, but never alleges names or email addresses were actually transmitted by Defendant to

Facebook. Compl. ¶¶ 5, 31, 34, 35. At most, Plaintiff vaguely alleges Defendant discloses



4
 The Court may consider the Bleacher Report website because (a) it is judicially noticeable since it is
publicly available and not reasonably subject to dispute, (b) Plaintiff references material from it (e.g.,
Compl. n.3, ¶¶ 23, 24, 37), and (c) whether Bleacher Report is a video tape service provider is central to
Plaintiff’s claim. See, e.g., Geinosky v. City of Chi., 675 F.3d 743, 745 n.1 (7th Cir. 2012).
5
 According to Plaintiff, “[a]n FID is a unique and persistent identifier that Facebook assigns to each
user.” Compl. ¶ 31.

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unspecified “personal information” and “sensitive data” to third parties. Id. ¶¶ 3, 4, 8, 39.

        Plaintiff also alleges that BleacherReport.com “hosts” the Facebook Pixel to “share[]”

video-viewing information, and that as part of this alleged disclosure, digital subscribers’ “FIDs”

are collected and transmitted through “personally identifiable FID cookies.” Id. ¶¶ 26, 31. The

only personally identifiable FID cookie Plaintiff identifies by name is Facebook’s c_user cookie,

id. ¶ 38, which Facebook (not Defendant) places on visitors’ browsers to “keep [its users] logged

in” and to “remember [users’] browser[s] so [they] don’t have to keep logging in to Facebook.”

Facebook, Cookies Policy, https://www.facebook.com/policy/cookies/. 6

        Plaintiff cannot and does not allege that the c_user cookie is Defendant’s cookie, or

relatedly, that Defendant is involved in the cookie’s placement or transmission to Facebook.

Indeed, Facebook’s website establishes the c_user cookie is Facebook’s, not Defendant’s.

Facebook, Cookies Policy, https://www.facebook.com/policy/cookies/. Plaintiff also fails to

allege an ordinary person could access information contained within the c_user cookie, let alone

identify an individual’s video-watching behavior by using the cookie.

        Given the c_user cookie is Facebook’s cookie, it cannot be that Defendant “discloses the

subscriber’s FID and viewed Video Media to Facebook together in a single transmission,” or that

Defendant did so “knowingly,” since information from the c_user cookie is sent by Facebook to

itself. Compl. ¶ 6. Relatedly, Plaintiff does not plausibly allege Defendant was aware that PII

and video watching information were sent to Facebook in a manner that would enable an

ordinary person to know what videos users watched; instead the Complaint claims in a

conclusory fashion that the Pixel’s functionality evidences Defendant’s knowledge. Id. ¶ 33.



6
  The Court may consider Facebook’s website because (a) it is publicly available and not reasonably
subject to dispute, (b) Plaintiff references material from it (e.g., Compl. ¶ 32), and (c) whether Defendant
is involved in the disclosure is central to Plaintiff’s claim. See Geinosky, 675 F.3d at 745 n.1.

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        The Class Waiver. Defendant’s Terms of Use—which Plaintiff agreed to when creating

his account (Id. ¶ 42)—provide: “You and Bleacher Report agree that . . . each party may bring

claims . . . against the other only in an individual capacity, and not participate as a plaintiff,

claimant, or class member in any class, collective, consolidated . . . or representative

proceeding.” Bleacher Report, Terms of Use § 17, https://bleacherreport.com/pages/terms.

Every version of the Terms that have existed since Plaintiff claims to have begun using Bleacher

Report has contained a nearly identical class waiver, allowing claims only to be brought on an

“individual basis” or in an “individual capacity,” and prohibiting participation in class actions. 7

        The Privacy Policy. Defendant’s Privacy Policy—which Plaintiff also agreed to when

creating his account (see Compl. ¶ 42)—discloses that: (a) “[w]e may collect information” about

“how you use . . . our Sites, and information about content . . . you have been shown or have

clicked on,” (b) Defendant and its “business partners may send ‘cookies’ to your computer or use

similar technologies,” and (c) “[w]e may also share Information” with third parties “that may

want to market products or services to you.” Bleacher Report, Privacy Policy,

https://www.warnermediaprivacy.com/policycenter/b2c/WMG/en-us/. Throughout the relevant

period, the Policy has had substantially similar terms and been posted on the website. Defendant

has also used pop-ups to notify visitors that they agree to the Policy by using the website. 8



7
 The 2015 and 2019 Bleacher Report Terms of Use are available via the Wayback Machine (see
http://web.archive.org/web/20161029092940/http://bleacherreport.com/pages/terms,
http://web.archive.org/web/20191224210257/https://bleacherreport.com/pages/terms), which the Court
may take judicial notice of. Hepp v. Ultra Green Energy Servs., LLC, No. 13 C 4692, 2016 WL 1073070,
at *2 n.1 (N.D. Ill. Mar. 18, 2016). Bleacher Report reserved the right to modify its Terms and Privacy
Policy, and this District has recognized contracting parties’ ability to update website terms with prior
consent. Miracle-Pond v. Shutterfly, Inc., No. 19 CV 04722, 2020 WL 2513099, at *5 (N.D. Ill. May 15,
2020); http://web.archive.org/web/20170119133516/http://bleacherreport.com/pages/privacy.
8
  That the Privacy Policy has contained substantially similar terms and been posted on the website during
the relevant period can be verified via the Wayback Machine. E.g.,
https://web.archive.org/web/20161026102017/http://bleacherreport.com/;

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        A section labelled with a bold, ‘all caps’ heading, titled “YOUR CHOICES AND

CONTROLS,” informs visitors that they can opt out of “collection, use, and transfer of data [for]

targeted advertising” by visiting Defendant’s “Opt-Out page.” A hyperlink, which visitors can

click to access the Opt-Out page, appears next to the words “Opt-Out page.” Bleacher Report,

Privacy Policy, https://www.warnermediaprivacy.com/policycenter/b2c/WMG/en-us/. The Opt-

Out page provides “[c]hoices for [opting out of] third-party targeted advertising” via certain

advertising self-regulatory programs. Bleacher Report, Opt-Out Page,

https://www.warnermediaprivacy.com/opt-out/. In addition, at the bottom of the website,

visitors can click the hyperlinked phrase “Do Not Sell or Share My Personal Information,”

opening a pop-up window in which they can toggle a button to turn off data sharing with third

parties. See Bleacher Report, Home Page, https://bleacherreport.com/. Plaintiff does not allege

that he chose to avail himself of any of these options.

                      LEGAL STANDARD FOR MOTION TO DISMISS

        Rule 12(b)(6) requires dismissal where a complaint lacks “sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citation omitted). “Conclusory legal allegations are not entitled to” the

assumption of truth, “unless supported by factual allegations that plausibly give rise to the

entitlement of relief.” Tudela v. Medicredit, Inc., No. 21 C 5515, 2022 WL 2828754, at *1 (N.D.

Ill. July 20, 2022). A complaint must also be dismissed under Rule 12(b)(1) if the plaintiff lacks

standing. Parvati Corp. v. City of Oak Forest, 630 F.3d 512, 516 (7th Cir. 2010). To establish

standing, the plaintiff must show that “he suffered an injury in fact” that is (i) “concrete,

particularized, and actual or imminent,” (ii) “likely caused by the defendant,” and (iii) “would


http://web.archive.org/web/20200101072528/https:/bleacherreport.com/pages/privacy. The pop-ups can
also be viewed on the Wayback Machine and are discussed in the motion to compel. See id.; MTC at 2-4.

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likely be redressed by judicial relief.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203

(2021). In assessing standing, federal courts consider whether the “asserted harm has a ‘close

relationship’ to a harm traditionally recognized as providing a basis for a lawsuit in American

courts,” id. at 2200, and whether the plaintiff alleged “a bare procedural violation, divorced from

any concrete harm.” Spokeo, Inc. v. Robins, 578 U.S. 330, 341-42 (2016).

                                           ARGUMENT

    I.   Plaintiff Consented to a Class Waiver, Barring His Putative Class Claims.

         When Plaintiff created his Bleacher Report account through the BleacherReport.com

website, he agreed to the Bleacher Report Terms of Use, which contain a conspicuous class

waiver. See Compl. ¶ 42. This class waiver—which permits Plaintiff to bring his claim “only in

an individual capacity,” and not as a “class member in any class, collective, consolidated, private

attorney general, or representative proceeding”—should be enforced according to its terms, and

his class claims must be dismissed. Bleacher Report, Terms of Use § 17,

https://bleacherreport.com/pages/terms; 9 Niiranen v. Carrier One, Inc., No. 20-CV-06781, 2022
WL 103722, at *8-9 (N.D. Ill. Jan. 11, 2022) (dismissing class claims where plaintiffs consented

to a class action waiver); Horton v. Dow Jones & Co., Inc., 804 F. App’x 81, 84-85 (2d Cir.

2020) (summary order) (finding the “class-waiver provision bars [plaintiff] from proceeding on a
class basis,” and affirming dismissal). In short, Plaintiff cannot bring this claim as a class action.
 II.    Plaintiff Fails to State an Individual Claim Under the VPPA.

         A.     Defendant Is Not a Video Tape Service Provider Under the VPPA.

         Plaintiff’s VPPA claim is facially deficient. To bring a VPPA claim, an individual must

purchase, rent, or subscribe to goods or services from a “video tape service provider.” A “video

tape service provider” is defined, in relevant part, as “any person, engaged in the business . . . of



9
 While the Terms of Use point to New York law, Illinois and New York law are consistent on this issue.
Bleacher Report, Terms of Use § 15, https://bleacherreport.com/pages/terms.

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rental, sale, or delivery of prerecorded video cassette tapes or similar audio visual materials.” 18

U.S.C. §§ 2710(a)(1), (a)(4). This Circuit has not determined whether a sports news and

commentary website like BleacherReport.com falls within the statute’s ambit, but applying the

VPPA here would clearly stretch the statute beyond its intended bounds. See 134 Cong. Rec.

S5397-01 (emphasis added) (explaining the VPPA ensures “that individuals will maintain

control over their personal information when renting or purchasing a movie . . . .”). Indeed, the

federal government has recognized “the VPPA does not impose liability on any entity other than

a ‘video tape service provider’ for revealing [PII]—including any news organization.” United

States of America’s Memorandum in Support of the Constitutionality of the Video Privacy

Protection Act at 18, Stark v. Patreon, Inc., No. 3:22-cv-03131-JCS (N.D. Cal.), ECF No. 49-1. 10

Moreover, to the extent visitors access pre-recorded videos on the website, they can do so

regardless of whether they sign up for newsletters or create accounts. 11

          Importantly, because the VPPA was codified as a criminal statute with civil penalties, it

must be construed narrowly so it is not applied in situations not clearly contemplated by the

legislature. 12 Leocal v. Ashcroft, 543 U.S. 1, 11 n.8 (2004) (if a statute has criminal and non-

criminal applications, the rule of lenity must be applied consistently to both). Bleacher Report’s

sports news and commentary offering is a far cry from the video rental store that disclosed Judge

Bork’s rental history to a reporter, making application of the VPPA entirely inappropriate. See



10
  “Courts may take judicial notice of court filings . . . when the accuracy of those documents reasonably
cannot be questioned.” Parungao v. Cmty. Health Sys., Inc., 858 F.3d 452, 457 (7th Cir. 2017).
11
  Bleacher Report offers certain live-streamed pay-per-view events which are not covered by the VPPA.
Bleacher Report, All Elite Wrestling PPV, https://bleacherreport.com/videos/all-elite-wrestling-ppv#main.
In addition, to the extent Plaintiff’s claim is based on a newsletter sign-up (Compl ¶ 42), his purported
“subscription” is “distinct and set apart” from any video content on BleacherReport.com and does not
suffice here. Austin-Spearman v. AMC Network Ent. LLC, 98 F. Supp. 3d 662, 671 (S.D.N.Y. 2015).
12
     Title 18 of the U.S. Code deals with “Crimes and Criminal Procedure.”

                                                     8
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In re Nickelodeon Consumer Priv. Litig., 827 F.3d 262, 284 (3d Cir. 2016) (“Congress’s purpose

in passing the [VPPA] was quite narrow . . . [w]e do not think that . . . it intended for the law to

cover factual circumstances far removed from those that motivated its passage.”).

       B.      Plaintiff Has Not Plausibly Alleged That Bleacher Report Provided
               Prerecorded Video Materials to Him.

       While this Court has not yet addressed whether the VPPA covers live-streamed videos,

every court to consider the issue has found that “a video must be prerecorded to fall within the

VPPA’s definition of ‘similar audio visual materials.’” Stark v. Patreon, Inc., No. 22-CV-

03131-JCS, 2022 WL 7652166, at *6 (N.D. Cal. Oct. 13, 2022); Louth v. NFL Enters. LLC, No.

121CV00405MSMPAS, 2022 WL 4130866, at *4 (D.R.I. Sept. 12, 2022) (finding that “live

content” should not be included as a “similar audio visual material” under the VPPA). Because

Plaintiff never alleges the Bleacher Report videos he watched were prerecorded (as opposed to

live-streamed), he has not alleged Defendant provided “similar audio visual materials” to him as

required for his claim. 18 U.S.C. § 2710(a)(4). His claim should be dismissed on this basis as

well. Patreon, 2022 WL 7652166, at *4-6 (plaintiffs’ failure to specify whether the videos they

watched were “broadcast live or prerecorded” required dismissal of their VPPA claim).

       C.      Plaintiff Has Not Plausibly Alleged That Defendant Disclosed PII.

       While the Complaint alleges that Defendant discloses Plaintiff’s video viewing history to

Facebook via the Pixel, that does not suffice to plausibly allege that Defendant disclosed PII.

The VPPA defines PII as information “which identifies a person” as having requested or

obtained specific video materials. 18 U.S.C. § 2710(a)(3). Attempting to satisfy this definition,

Plaintiff alleges his identifying information was “disclosed” to Facebook by way of the c_user

cookie. Compl. ¶ 38. The c_user cookie, however, is Facebook’s, so to the extent the cookie

was “disclosed,” that disclosure occurred from Facebook to itself. Facebook, Cookies Policy,


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https://www.facebook.com/policy/cookies/. Accordingly, it cannot be Defendant who

“disclosed” this cookie, or combined it with video viewing information.

       In addition, Plaintiff does not and cannot allege that an ordinary person could use the

cookie to “identify a specific individual’s video-watching behavior” as required to plausibly

allege that PII was disclosed. Nickelodeon, 827 F.3d at 284, 290; Wilson v. Triller, Inc., 598 F.

Supp. 3d 82, 91 (S.D.N.Y. 2022) (finding the “ordinary person” standard for PII to be “the

correct one.”). Whether Facebook can itself read the c_user cookie does not bear on whether

Defendant disclosed PII, because the abilities of a recipient do not dictate what constitutes PII.

Eichenberger v. ESPN, Inc., 876 F.3d 979, 985 (9th Cir. 2017) (PII “must have the same

meaning without regard to its recipient’s capabilities.”). Under the facts alleged and the

governing law, Plaintiff has failed to plausibly allege facts suggesting that Defendant disclosed

PII in any manner, much less one that violates the VPPA.

       D.      Plaintiff Has Not Plausibly Alleged Defendant “Knowingly” Disclosed PII.

       Plaintiff relies on conclusory allegations that Defendant “knowingly disclosed” PII, and

asserts that the Pixel’s functionality demonstrates Defendant’s knowledge (see Compl. ¶ 33),

ignoring that he cannot simply allege Defendant transmitted information sufficient to reconstruct

PII to state a VPPA claim. Robinson v. Disney Online, 152 F. Supp. 3d 176, 181, 183 (S.D.N.Y.

2015) (if a third party has to “reverse engineer” PII, there can be no knowing disclosure); see

Hulu, 86 F. Supp. 3d at 1099 (no viable VPPA claim where Hulu “did not know” c_user cookies

would be combined with video titles). Defendant is responsible for grasping the “nature of the

information actually disclosed,” not “the informational capabilities of any third-party recipient”

like Facebook. See Robinson, 152 F. Supp. 3d at 181-82. If, as here, a defendant “did not think

it was conveying PII, then there could be no knowledge of the conveyance.” Bernardino v.

Barnes & Noble Booksellers, Inc., Case No. 17-CV-04570 (LAK) (KHP), 2017 WL 3727230, at

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*9 (S.D.N.Y. Aug. 11, 2017), adopted by, 2017 WL 3726050 (S.D.N.Y. Aug. 28, 2017).

       Because the c_user cookie is transmitted by Facebook to itself, Defendant could not have

knowingly disclosed PII, let alone done so in “one data point.” Compl. ¶ 35. It is “the

information actually ‘disclose[d]’ by a ‘video tape service provider,’ which must itself do the

identifying that is relevant for purposes of the VPPA . . . not information disclosed by a provider,

plus other pieces of information collected elsewhere by non-defendant third parties.” Robinson,

152 F. Supp. 3d at 182 (citation omitted). And despite claiming that Defendant “disclosed” his

FID (Compl. at 1, ¶ 44), Plaintiff never actually alleges Defendant knew his FID. And indeed,

since Facebook—not Defendant—placed the cookie allegedly containing Plaintiff’s FID and is

not alleged to have shared this information with Defendant, Plaintiff cannot plausibly allege that

Defendant knowingly disclosed PII.

       E.      Plaintiff Consented to the Alleged Disclosure.

       In addition, Defendant here has met the VPPA’s three requirements in obtaining

individuals’ consent to disclosure. First, the Privacy Policy is “distinct and separate from any

form setting forth other legal or financial obligations of the consumer.” 18 U.S.C. §

2710(b)(2)(B)(i). While Defendant has separate Terms of Use dedicated to other topics, its

Privacy Policy concerns only collection and sharing of personal information. Bleacher Report,

Privacy Policy, https://www.warnermediaprivacy.com/policycenter/b2c/WMG/en-us/. Indeed,

the Policy notifies individuals about the exact type of disclosure complained of here, explaining

that Defendant (a) may collect information about individuals’ use of the sites including content

that they “have been shown” or “clicked on,” (b) that it uses cookies and similar technologies,

and (c) that it may share such information with third parties for advertising purposes. Bleacher

Report, Privacy Policy, https://www.warnermediaprivacy.com/policycenter/b2c/WMG/en-us/.

       Second, Defendant met the requirement that consent to the Policy be “given at the time

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the disclosure is sought.” 18 U.S.C. § 2710(b)(2)(B)(ii). Plaintiff agreed to the Privacy Policy

when creating his Bleacher Report account through the BleacherReport.com website, consenting

in advance to the alleged disclosures. See Compl. ¶ 42. Moreover, the Policy has been posted on

the website at all relevant times, and Defendant has also at various points used banner pop-ups to

notify website visitors of the Privacy Policy. 13 Because visitors encountered the Privacy Policy

when they landed on the website, which is when disclosure of PII via the Facebook Pixel

allegedly occurred (Compl. ¶ 30), consent was “given at the time the disclosure [was] sought.”

        Third, Defendant clearly and conspicuously allows visitors to opt out of information

sharing. 18 U.S.C. § 2710(b)(2)(B)(iii). In the website footer, visitors can click the hyperlinked

phrase “Do Not Sell or Share My Personal Information,” opening a pop-up window in which

they can toggle a button to turn off data sharing with third parties. See Bleacher Report, Home

Page, https://bleacherreport.com/. Moreover, in a section clearly labelled “YOUR CHOICES

AND CONTROLS,” the Privacy Policy notifies individuals they can opt out of information

sharing “for interest-based or targeted advertising” by visiting an “Opt-Out page.” The words

“Opt-Out page” contain a hyperlink that individuals can click to access a page presenting choices

for opting out of targeted advertising via certain advertising self-regulatory programs. Bleacher

Report, Privacy Policy, https://www.warnermediaprivacy.com/policycenter/b2c/WMG/en-us/;

Bleacher Report, Opt-Out Page, https://www.warnermediaprivacy.com/opt-out/.

III.    Plaintiff Lacks Article III Standing.

        A.     Plaintiff Has Not Suffered an Injury in Fact.

        Where, as here, a plaintiff alleges only an intangible harm, such harm confers standing

only if it “has a ‘close relationship’ to a harm traditionally recognized as providing a basis for a


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  This can be verified via the Wayback Machine. See, e.g.,
https://web.archive.org/web/20161026102017/http://bleacherreport.com/.

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lawsuit in American courts[.]” TransUnion, 141 S. Ct. at 2200, 2204; Compl. ¶ 45. While

federal courts have recognized privacy torts such as public disclosure of private facts and

intrusion upon seclusion, neither bears a “close relationship” to the harm alleged here. See Reed

v. MRS BPO, L.L.C., No. 1:21-CV-04066, 2022 WL 3908666, at *4 (N.D. Ill. Aug. 30, 2022)

(disclosure of personal information to a third party vendor was not analogous to public disclosure

of private facts where, as here, plaintiff did not allege her information was made public); Angelo

v. Moriarty, No. 15 C 8065, 2016 WL 640525, at *4 (N.D. Ill. Feb. 18, 2016) (citations omitted)

(the “core” of intrusion upon seclusion is “offensive prying into the private domain of another,”

not disclosure); see also Sputz v. Alltran Fin., LP, No. 21-CV-4663 (CS), 2021 WL 5772033

(S.D.N.Y. Dec. 5, 2021) (the common law does not “protect[] against the exposure of private

information to an inanimate object like a computer.”). 14

        While Sterk v. Redbox Automated Retail, LLC, 770 F.3d 618, 623 (7th Cir. 2014) found

alleged disclosure of PII in violation of the VPPA sufficed to establish Article III standing, that

case was decided before TransUnion, which “materially changed” district courts’ analyses of

standing in consumer class actions. Ciccone v. Cavalry Portfolio Servs., LLC, No. 21-cv-2428

(JS) (JMW), 2021 WL 5591725, at *3 (E.D.N.Y. Nov. 29, 2021). TransUnion “put more meat

on the bones” of the historical analogue approach, “adding that when an element ‘essential to

liability’ at common law is missing . . . the common-law comparator is not closely related to that

harm.” Hunstein v. Preferred Collection & Mgmt. Servs., Inc., 48 F.4th 1236, 1244 (11th Cir.

2022) (en banc). This District has recognized the change brought by TransUnion, indicating a

standing challenge to a VPPA claim could be viable. In re TikTok, Inc., Consumer Priv. Litig.,



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  Moreover, Plaintiff here has not explained how the alleged disclosure would be “highly offensive to a
reasonable person,” as both torts require. Jeong-Su Kim v. McDonald’s USA, LLC, No. 21-CV-05287,
2022 WL 4482826, at *6-7 (N.D. Ill. Sept. 27, 2022).

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No. 20 C 4699, 2022 WL 2982782, at *23 (N.D. Ill. July 28, 2022) (“Defendants also could

argue that Plaintiffs lack Article III standing to bring some of their claims, given that a ‘bare

procedural violation’ of a federal statute, without more, does not confer standing”), appeal filed,

No. 22-2682 (7th Cir. Sept. 21, 2022).

       Here, as Plaintiff alleges, the Privacy Policy disclosed that Defendant may collect and

share information about visitors’ use of its website. Compl. ¶ 24. Plaintiff’s allegation therefore

boils down to the claim that the disclosure in the Policy does not meet the requirements of a

“distinct and separate” consent set forth in 18 U.S.C. § 2710(b)(2). While the Policy does meet

these requirements as explained above, any failure to meet this requirement would be at most a

“bare procedural violation” failing to satisfy Article III’s “concrete injury” requirement. Spokeo,

578 U.S. at 341-42 (noting a bare procedural violation of the FCRA may result in no harm).

Plaintiff has similarly failed to allege a concrete injury here.

       B.      Plaintiff’s Injury Is Not Fairly Traceable to the Challenged Conduct.

       To establish standing, Plaintiff’s injury also must be “fairly traceable” to Defendant’s

conduct, not be “self-inflicted,” and not be the result of “the independent action of some third

party not before the court.” Parvati, 630 F.3d at 518; Lujan v. Defs. of Wildlife, 504 U.S. 555,

560-61 (1992). But here, to the extent Plaintiff’s c_user cookie was transmitted, it was the result

of his actions. Plaintiff must have (1) logged into Facebook, (2) accessed another website on the

same browser, and (3) remained logged into Facebook. In re Hulu Priv. Litig., No. C 11-03764

LB, 2014 WL 2758598, at *5 (N.D. Cal. June 17, 2014) (“When the ‘remember me’ box is

checked, Facebook sets the c_user cookie”); Austin-Spearman, 98 F. Supp. 3d at 664 (“[I]f a

person has chosen to remain logged into Facebook . . . this ‘c_user’ cookie will continue to

operate. . . .”). Indeed, Plaintiff could prevent transmission of the cookie at any time simply by

“logging out of Facebook.” Hulu, 2014 WL 2758598, at *8, n.5 (citations omitted).

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       Defendant’s disclosures explain clearly that it may use “cookies” and similar

technologies for advertising purposes and explains that users can use their “browser settings to

delete cookies and other tracking technologies.” Bleacher Report, Privacy Policy,

https://www.warnermediaprivacy.com/policycenter/b2c/WMG/en-us/. Facebook’s disclosures

similarly notify users that it uses cookies, including the c_user cookie, and that users can adjust

their browser settings to “choose whether browser cookies are set and to delete them.”

Facebook, Cookies Policy, https://www.facebook.com/privacy/policies/cookies. These are

settings that Plaintiff could have adjusted to prevent placement of the c_user cookie in the first

place. In addition, Bleacher Report’s website allows users to opt out of data sharing with third

parties via the “Do Not Sell or Share My Personal Information” link at the bottom of the website.

See, e.g., Bleacher Report, Home Page, https://www.bleacherreport.com/.

       Any transmission of Plaintiff’s information to Facebook therefore occurred due to his

actions and the operation of Facebook’s cookie; it is not attributable to Defendant. Parvati, 630

F.3d at 518 (plaintiff’s injury was not traceable to defendant’s conduct where the injury resulted

from plaintiff’s own conduct); Johnson v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 719 F.3d

601, 602 (7th Cir. 2013) (no standing where injury resulted from a state court order freezing

distributions from a retirement account, and not defendant’s conduct). Indeed, in St. Louis Heart

Center, Inc. v. Nomax, Inc., 899 F.3d 500, 502, 504 (8th Cir. 2018), plaintiff’s injury was not

traceable to the challenged conduct where the plaintiff, as here, “both invited and did not rebuke”

the challenged conduct—the Nomax plaintiff conceded that it “requested samples” of a product

but then did not opt out of receiving faxes despite being provided with the opportunity to do so.

       Accordingly, Plaintiff lacks standing and his claim should be dismissed.

                                         CONCLUSION

       Defendant respectfully requests that the Court dismiss the Complaint in its entirety.

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Dated: New York, New York               Respectfully submitted,
       January 13, 2023
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